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                      UNITED STATES DISTRICT COURT

                      MIDDLE DISTRICT OF LOUISIANA

VOICE OF THE EXPERIENCED, A CIVIL ACTION
MEMBERSHIP ORGANIZATION ON
BEHALF OF ITSELF AND ITS
MEMBERS, ET AL.

VERSUS

JAMES LEBLANC, ET AL. NO. 23-01304-BAJ-EWD

                                         ORDER

      Considering Plaintiffs' November 5 correspondence, (Doc. 150),


      IT IS ORDERED that a telephone status conference be and is hereby SET for

December 3, 2024, at 10:00 A.M. Dial-in instructions will be emailed to counsel prior


to the conference.

                                                          J2.-8



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                            Baton Rouge, Louisiana, this 'A—d4y of November, 2024




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                                       JUDGE BRIAN A. J^C^SON
                                       UNITED STATES DISTRICT COURT
                                       MIDDLE DISTRICT OF LOUISIANA
